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nation and label Exhibit,

oa Fom 200 - . 4 oe
DebtorName Forza Pipeline Services, Inc. Case number 24-70030-smr

17. Have you paid any bills you owed before you filed bankruptcy? O uw QO)
18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy? O) w QO
a 2. Summary of Cash Activity for All Accounts
19. Total opening balance of all accounts 246.35
This amount must equal what you reported as the cash on hand at the end of the month in the previous $22
month. If this is your first report, report the total cash on hand as of the date of the filing of this case.
20. Total cash receipts
Attach a listing of all cash received for the month and label it Exhibit C. Include all
cash received even if you have not deposited it at the bank, collections on
receivables, credit card deposits, cash received from other parties, or loans, gifts, or
payments made by other parties on your behalf. Do not attach bank statements in
lieu of Exhibit C.
Report the total from Exhibit C here. $ __ 168.91
21. Total cash disbursements
Attach a listing of all payments you made in the month and label it Exhibit D. List the
date paid, payee, purpose, and amount. Include all cash payments, debit card
transactions, checks issued even if they have not cleared the bank, outstanding
checks issued before the bankruptcy was filed that were allowed to clear this month,
and payments made by other parties on your behalf. Do not attach bank statements
in lieu of Exhibit D. = 35.00
Report the total from Exhibit D here.
22. Net cash fiow
/ + 133.91
Subtract line 21 from line 20 and report the result here. ee
This amount may be different from what you may have calculated as net profit.
..23. Cash on hand at the end of the month
Add line 22 + line 19. Report the result here.
= $ 380.26
Report this figure as the cash on hand at the beginning of the month on your next operating report. TT
This amount may not match your bank account balance because you may have outstanding checks that
have not cleared the bank or deposits in transit.
a 3. Unpaid Bills
Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
purpose of the debt, and when the debt is due. Report the total from Exhibit E here.
24. Total payables $ 0.00

(Exhibit E)

Official Form 425C Monthly Operating Report for Small Business Under Chapter 11 page 2
Debtor Name Forza Pipeline Services, Inc. Case number 24-70030-smr

a 4. Money Owed to You

Attach a list of all amounis owed to you by your customers for work you have done or merchandise you
have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
identify who owes you money, how much is owed, and when payment is due. Report the total from

Exhibit F here.
25. Total receivables $ 0.00
(Exhibit F)
a 5. Employees
26. What was the number of employees when the case was filed?
27. What is the number of employees as of the date of this monthly report?
= 6. Professional Fees
8. How much have you paid this month in professional fees related to this bankruptcy case? $ 0.00
29. How much have you paid in professional fees related to this bankruptcy case since the case was filed? $ 0.00
30. How much have you paid this month in other professional fees? $ 0.00
31. How much have you paid in total other professional fees since filing the case? $ 0.00
a 7. Projections
Compare your actual cash receipts and disbursements to what you projected in the previous month.
Projected figures in the first month should match those provided at the initial debtor interview, | if any.
Column A _Column B ee Column C
Projected a — Actual os Difference
. Copy lines 35-37. fro Cony lines 20-22 Zot Subtract a B
the previous month's: this report, : from GolumnA,
report, 92: Se : Le Ss
32. Cash receipts g___ 0.00 — § “0.00 = $____0.00
33. Cash disbursements s____ 0.00 - $____ 9.00 = g___0.00
34. Net cash flow $ ___0.00° ~ $ ___-9,00 $ ___0,00
35. Total projected cash receipts for the next month: $ ___ 9.00
36. Total projected cash disbursements for the next month: =$ 0.00
37. Total projected net cash flow for the next month: =¢ 0.00

Official Form 425C Monthly Operating Report for Small Business Under Chapter 11 page 3
Debtor Name Forza Pipeline Services, Inc. Case number 24-70030-smr

a 8. Additional Information

If available, check the box to the left and attach copies of the following documents.

(4 38. Bank statements for each open account (redact all but the last 4 digits of account numbers).
(} 39. Bank reconciliation reports for each account.

(J 40. Financial reports such as an income statement (profit & loss) and/or balance sheet.

C) 41. Budget, projection, or forecast reports.

(} 42. Project, job costing, or work-in-progress reports.

Official Form 425C Monthly Operating Report for Small Business Under Chapter 11 page 4
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: PROSPERITY BANK’

ty!
Statement Date 4/30/2024
6304 1 AV 0.507 Account No ¥**0994
FORZA PIPELINE SERVICES INC Page 1 of 2
DEBTOR IN POSSESION CASE#24-70030

PO BOX 1310
MIDLAND TX 79702-1310

COP MPSS SER SO GG e : : OP SuPUeriei see Ste ura Coeele gle Ne) came tee
04/15/2024 Beginning Balance $0.00
1 Deposits/Other Credits + $380.26
Q Checks/Other Debits - $0.00
04/30/2024 Ending Balance 16 Days in Statement Period $380.26
Total Enclosures : 1

ase eyed bata’ (esis) Rey
Date Description Amount
04/16/2024 Opening Deposit $380.26

BEOEENL (@) a0) 7a h gach

Total For This Period Total Year-to-Date
Total Overdraft Fees $0.00 $0.00
Total Retum Item Fees $0.00 $0.00

PNT asta) Inte) NENG a

Date Balance Date Balance
04-15 $0.00 04-16 $380.26

MEMBER FDIC NYSE Symbol "PB"

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FORZA PIPELINE SERVICES

INC

' CREDIT —C)rnosesarvnargy

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WA. PREPARED Fy” ‘APPROVED BY aor - DAE -
Cri egies “or OFFS : ofan
. 150
WEr1074 4. 2 YOLY
: 52 dBm BB SSH
4/16/2024 $380.26

Account No

#0994
Page 2 of 2
Statement Ending 04/30/2024

Page 1 of 2
~ adivigionof HTLF Benk
760 Locust Street, Suite 600 | Dubuque, IA 52001
ADDRESS SERVICE REQUESTED Managing Your Accounts
First Bank & Trust
it a division of HTLF Bank
FORZA PIPELINE SERVICES INC , Customer Care 977 o8n 1864
PO BOX 1310 Center:
MIDLAND TX 79702-1310 Cl Website: FirstBankTexas.com

Summary of Accounts
Account Type Account Number Ending Balance
BUSINESS CHECKING XXXXXK4A352 $0.00

BUSINESS CHECKING-XXXXXX4352

Account Summary

Date Description Amount
04/01/2024 Beginning Balance $211.35
0 Credit(s) This Period $0.00
1 Debit(s) This Period $211.35
04/30/2024 Ending Balance $0.00
Other Debits

Date Description Amount
04/05/2024: = CLOSING TRANSACTION = = Bobs EES ne : oe 6299185
1 item(s) totaling $211.35

Daily Balances

Date Amount Date Amount
03/31/2024 $211.35 04/05/2024 $0.00

877.280.1864 | FirstBankTexas.com HTLFBANKISAN 21 EQUAL HOUSING LENDER | MEMBER FDIC
adivision of HTLF Bank

700 Locust Street, Suita 600 | Dubuque, IA 52001

ADDRESS SERVICE REQUESTED

FORZA PIPELINE SERVICES INC
PO BOX 1310
MIDLAND TX 79702-1310

Statement Ending 03/31/2024

Page 1 of 2

Managing Your Accounts

a First Bank & Trust
iit a division of HTLF Bank

Customer Care
Center: 877.280.1864

Cl Website: FirstBankTexas.com

Summary of Accounts
Account Type

Account Number Ending Balance

BUSINESS CHECKING

XOOCXKKKA B52 $211.35

BUSINESS CHECKING-XXXXXX4352

Account Summary
Date Description
03/01/2024 Beginning Balance
0 Credit(s) This Period
2 Debit(s) This Period
03/37/2024 Ending Balance
Service Charges

Other Debits
Date Description

Amount
$317.57
$0.00
$106.22
$211.35
$35.00

Amount

03/1 8/2024 | ADE SECURITY SER ADTPAPACH =

ogo. SERVICE EEE

971.22

~ $35.00

2 item(S) totaling $106.22

Daily Balances
Date Amount Date Amount Date Amount
02/29/2024 $317.57 03/18/2024 $246.35 03/29/2024 $211.35
Service Charge Summary
Description Amount
Monthly Maintenance $10.00
InBusiness Wire Tran $25.00
Service Chg Waived $10.00

877.280.1864 | FirstBankTexas.com

HTLFBANKIS AN TY EQUAL HOUSING LENDER | MEMBER FDIG
